        Case 3:17-cr-00164-SDD-EWD Document 1                12/22/17 Page 1 of 6

                                                                               i ^ G i_

                                                                        U.S. OiSTCCUK:
                                                                       ^flr)i.E: DiS^nn'


                           UNITED STATES DISTRICT COURT ^ ! / 0^ 22 AH 9^42

                           MIDDLE DISTRICT OF LOUISIANA
                                                    EGN.
                                                         ^n LLIr\
                                                                        BY DEPUTY CLEr^

                             BILL OF INFORMATION FOR
                       WIRE FRAUD AND NOTICE OF FORFEITURE


 UNITED STATES OF AMERICA                                 CRIMINAL NO .i-l -^4-spt> -©-^>

        versus                                            18U.S.C.§ 1343
                                                          18U.S.C.§981(a)(l)(C)
 RALPH WILLARD SAVOIE                                     28U.S.C.§2461(c)




THE ACTING UNITED STATES ATTORNEY CHARGES:

At All Relevant Times:

       1. RALPH WILLARD SAVOIE (SAVOIE), the defendant herein, was a resident

of Baton Rouge and Mandeville, Louisiana.

       2. SAVOIE was a registered investment adviser who was associated with multiple

brokerage firms, including Cambridge Investment Research, Inc. ("Cambridge") which was


located in Iowa. As a registered investment adviser, SAVOIE, who maintained offices in


Baton Rouge and elsewhere, solicited and obtained money from multiple investors (the


"victim investors ).


       3. SAVOIE was associated with Cambridge from in or about July 2013 through in


or about August 2015.

                                        The Scheme

       4. From no later than In or about January of 2013, until at least in or about March of

2016, in the Middle District of Louisiana and elsewhere, RALPH WJLLARD SAVOIE,

defendant herein, devised and intended to devise a scheme to defraud the victim investors and
        Case 3:17-cr-00164-SDD-EWD Document 1                 12/22/17 Page 2 of 6




to obtain money and property from the victim investors by means of materially false and


fraudulent pretenses, representations, and promises.


                                    Manner and Means


       5. The scheme to defraud and to obtain money and property was executed in


the following manner:


                a. It was part of the scheme that, from in or about January 2013, until


at least in or about March 2016, SAVOFE solicited and obtained over $150,000 from the

victim investors and used the funds for his own personal use, the use of others, and to


make payments to other victim investors.


                b. SAVOIE falsely represented to the victim investors that he would,


among other things, invest their money in securities and insurance and to develop


industrial cooling towers.


                c. SAVOIE represented to the victim investors that he was associated


with Cambridge, falsely portraying himself as a reputable and trustworthy financial

professional.


                d. SAVOIE used Cambridge forms to solicit and obtain funds from

the victim investors.


                e. Rather than invest the victim investor funds as promised, SAVOIE


wrote checks to himself and his family, and paid off other investors who had previously


invested their money with him.


                f. Rather than invest the victim investor funds as promised, SAVOIE


withdrew the funds in cash, invested them in a risky real estate venture, and spent them
        Case 3:17-cr-00164-SDD-EWD Document 1                      12/22/17 Page 3 of 6




on jewelry, hotels, and restaurants.


               g. Rather than invest the victim investor funds as promised, SAVOIE


used the funds to pay his credit card bills, car note, and rent.


               h. In January 2013, SAVOIE solicited and obtained $70,000 from

E.B., falsely promising to invest her funds in the stock market. However, rather than


invest the funds as promised, SAVOIE invested the E.B. funds in a risky real estate


venture.


               i. In May 2013, SAVOIE solicited and obtained $20,000 from D.A.

and J.A., falsely promising to invest their funds to develop industrial cooling towers.


However, rather than invest the funds as promised, SAVOIE invested the D.A. and J.A.


funds in a risky real estate venture.


               j. In July 2013, SAVOIE solicited and obtained $50,000 from M.L.

and J.L., falsely promising to invest their funds to develop industrial cooling towers and


describmg the investment as a "sure thing." However, rather than Invest the funds as


promised, SAVOIE used the M.L. and J.L. funds to (i) write checks to himself and to


cash, and (ii) pay off an investor who had previously invested funds with SAVOIE and

the caretaker of another investor.


               k. In October 2014, SAVOIE solicited and obtained $30,000 from

C.D., falsely promising to invest her funds in insurance and assuring her the investment


was safe. However, rather than invest the funds as promised, SAVOIE (i) used the C.D.


funds to pay off another victim investor, C.R., (ii) wrote checks to his family and


himself, (iii) withdrew a portion of the funds in cash, and (iv) paid his rent.
        Case 3:17-cr-00164-SDD-EWD Document 1                   12/22/17 Page 4 of 6




                1. In April 2015, SAVOIE solicited and obtained $17,000 from C.R.,

falsely promising to invest his funds m securities, among other things. However, rather


than invest the funds as promised, SAVOIE (i) spent the C.R. funds on jewelry, hotels,


and restaurants, (ii) wrote checks to himself and his family, and (iii) paid his credit card

bills, car note, and rent.


                m. In October 201 5, SAVOIE falsely represented to C.D. that he had

invested her funds as promised.


                n. In March 2016, D.A. confronted SAVOIE about his investment


after learning he may have been defrauded. SAVOIE, who admitted it was illegal for

him to invest D.A/s funds in a risky real estate venture, falsely promised to return D.A.'s


funds to him, as long as D.A. did not report the matter to law enforcement authorities.


                                   Act in Execution of Scheme


        6. On or about July 29,2013, in the Middle District of Louisiana, RALPH

WILLARD SAVOIE, defendant herein, having devised the above-described scheme, for the


purpose of executing the scheme, and attempting to do so, knowingly caused to be transmitted in

interstate commerce, by means of a wire communication, certain signs, signals, and sounds, that


is, he faxed to Cambridge, an Iowa brokerage firm, a licensing invoice which allowed him to

register as an independent financial professional.

       The above is a violation of Title 18, United States Code, Section 1343.

                                  NOTICEOFFQRIEITURE

       7. Upon conviction of the wire fraud offense alleged in this Bill of Information, the

defendant, RALPH WILLARD SAVOIE, shall forfeit to the United States, pursuant to 18

U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), any property constituting or derived from the
        Case 3:17-cr-00164-SDD-EWD Document 1                    12/22/17 Page 5 of 6




proceeds of the said violation, including but not limited to a sum of money equal to the amount

of proceeds of the offense.

        8. If any of the above-described forfeitable property, as a result of any act or

omissions of the defendant:

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided

                       without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by 18 LJ.S.C.

§ 982(b), to seek forfeiture of any other property of the defendant up to the value of the

forfeitable property described above.

                                              UNIJ^D STATES OF AMERICA, by
                                                 /



Date: ^\^\^- L-(9^A'.[
                                              COREY ^AMUNDSON
                                              ACTING UNITED STATES ATTORNEY



                                              RYAN IS^ZA-E-f
                                              ASSISTANT U.S. ATTORNEY
                Case 3:17-cr-00164-SDD-EWD Document 1 12/22/17 Page 6 of 6
                                    Criminal Cover Sheet           U.S. District Court

Place of Offense:                                    Matter to be sealed:            X No         Yes


City           Baton Rouge_                          Related Case Information:


County/Parish East Baton Rouge Parish                Superseding Indictment            Docket Number
                                                     Same Defendant                    New Defendant        x
                                                     Magistrate Case Number
                                                     Search Warrant Case No.
                                                     R 20, R 40 from District of _
                                                     Any Other Related Cases:
Defendant Information:

Defendant Name: Ralph Willard Savoie
Alias
Address
Birthdate SS #                            Sex            Race Nationality

U.S. Attorney Information:


AUSA Ryan Rezaei                                                     Bar# CA285133

Interpreter: X No Yes                  List language and/or dialect:

Location Status:

Arrest Date
              Already in Federal Custody as of
              Already in State Custody
              On Pretria! Release


U.S.C. Citations:

Total # of Counts: 3
                                                                                                  Petty/
Index Key/Code                  Description of Offense Charged                        Count(s}    Misdemeanor/
                                                                                                  Feloin


18U.S.C.S 1343                Wire Fraud                                                1,2        Felony

18 U.S.C. § 1028A^m Assravated Identity Theft                                                      Felony




Date :   /L/12/1'7-                    Signature of AUSA:



District Court Case Number (To be filled in by deputy clerk):
